‘ STATE OF NORTH CAROT INA IN TH™. GENERAL COURT OF JUSTICE

COUNTY OR IREDELL a oe '. DISTRICT COURT DIVISION

FILS NO; 82 J 66

IN THE MATTER OF:
8 E CAUSE HEARING ~
shaun Antonio Hayden FROBABIs AUSE *
Juvenile

Now on this 30th day of ; _ August 91982, there beings |

present, the. juvenile, Tommy Hayden, great-grandfather; Carolyn Hayden, mother; Mrs

Susie B. Felts; Mrs. Hazel Davidson; Steve Burgin, Statesville Police Dept.; Gary Lavinder |

and Carl Du ncan, Court Counselors; Costi Kutteh, Atty. for the Juvenile; David enor Ass |

District Attorney.
and the Court having conducted a hearing pursvant to G.S. 7A-588, to

dstermina probabla causa to transfer Jurisdiction of said juvenils to

Criminal Superior Court for trial, and having received testimony and othe) |

evidence, the court finds:

1. There ia probable cause that the Juvenile, | Shaun Antonio Hayden

» has committed an offense which would be a felony if committe: |

by an adult, to wit: First degree sexual offerse; First degree rape; Feloniously

enter a building; feloniously larceny; and feloniously attempt murder.

a “violation of Section 14-27. 4; 14-27.2; 14-54(a) ; 14-72; 14-17 ,

2. The juvenile is _15 years of age, having been born on the
6th day of October , 19 66 , and the alleged offense was
committed after the juvenile became _ 1° years of age.

3. The juvenile is not a proper subject to be dealth with under th

provisions of the Juvenile Code for the reasons that the juvenile is presentl:

bound over to Superior Court awaiting trialfor other felony matters.

Ex. B
Page 2

4. That the needs of the juvenile and the best interest of the

State will be served by transfer of ‘the case to Superior Court for trial

as in the case of adults,

WHEREFORE, it is ordered that said juvenile, Shaun Antonio Hayden —

» be and he is heraby transferred to the Superi or Court to Db

prosecuted and tried under the general law for the offense alleged. That

pending trial in Superior Court the juvenile shall remain in detention

while awaiting trial in Superior Court.

This the 30th day of August , 19 82

JUDGE OF THE DISTRICT COURT.
